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                     EXHIBIT F
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                                                                                Execution Version



          LIMITED WAIVER AND FIRST AMENDMENT TO TERM LOAN CREDIT AGREEMENT


        This LIMITED WAIVER AND FIRST AMENDMENT TO TERM LOAN CREDIT AGREEMENT (this
 “Waiver and Amendment”), dated as of February 22, 2019 (the “First Amendment Effective
 Date”) is among MTE HOLDINGS LLC, a limited liability company organized under the laws of th
State of Delaware (the “Company”); each of the Lenders party hereto; and RIVERSTONE CREDITe
MANAGEMENT, LLC, as administrative agent and collateral agent for the Lenders (in such capacity,
together with its successors in such capacity, the “Administrative Agent”).

                                          RECITALS

        A.      The Company, the Administrative Agent and the Lenders are parties to that certain
Term Loan Credit Agreement dated as of September 17, 2018 (as amended, restated, amended and
restated, supplemented or otherwise modified from time to time pursuant to the terms thereof, the
“Credit Agreement”), pursuant to which the Lenders have made certain credit available to and on
behalf of the Company.

        B.      The Company has advised the Administrative Agent and the Lenders that (i) the
Company was not in compliance with Section 6.7(a) and Section 6.7(b) of the Credit Agreement
for the Fiscal Quarter ending September 30, 2018 (each a “Specified Ratio Non-Compliance”) and
(ii) the Company and the other Group Members have begun drilling the wells identified on
Schedule I hereto (the “New Wells”) and making Capital Expenditures associated with the drilling
of such New Wells, in each case prior to the date hereof, and such drilling and Capital Expenditures
were not in accordance with the APOD then in effect on the date of such drilling and such Capital
Expenditures, which is not permitted by Section 5.13 and Section 6.20 of the Credit Agreement
(the “APOD Non-Compliance”); and each such Specified Ratio Non-Compliance and such APOD
Non-Compliance constitutes an Event of Default under Section 8.1(c) (collectively, the “Specified
Defaults”).

        C.      The Company has requested that the Administrative Agent and the Lenders enter
into this Waiver and Amendment to provide a limited waiver of the Specified Defaults (each such
waiver, a “Specified Waiver”) and to approve a new APOD which is attached hereto as Schedule II
(the “New APOD”), on the terms and conditions set forth herein, and the Company, the
Administrative Agent and the Lenders have agreed, subject to the terms and conditions set forth
herein, to provide such Specified Waivers and to amend certain provisions of the Credit Agreement
as more fully set forth herein.

       D.      NOW, THEREFORE, in consideration of the premises and the mutual covenants
herein contained, for good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the parties hereto agree as follows:

       Section 1.     Defined Terms. Each capitalized term which is defined in the Credit
Agreement, but which is not defined in this Waiver and Amendment, shall have the meaning
ascribed such term in the Credit Agreement. Unless otherwise indicated, all section, exhibit and
schedule references in this Waiver and Amendment refer to sections, exhibits or schedules of the
Credit Agreement.


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       Section 2.     Amendments to Credit Agreement.

      2.1    Amendment to Section 5.1. With effect from the date hereof Section 5.1 is hereby
amended by adding a new clause (u) as follows:

                     (u)     Monthly Lender Calls. Within thirty (30) days after the end
       of each calendar month, the Company shall host a monthly call with the
       Administrative Agent and the Lenders, at a time mutually agreed to by the
       Company, the Administrative Agent and the Requisite Lenders, to discuss the
       monthly financial statements delivered pursuant to Section 5.1(a) and the slides
       prepared by the Company, in the form of Exhibit N or such other form as shall be
       approved by the Administrative Agent, which slides shall be delivered by the
       Company to the Administrative Agent at least three (3) Business Days prior to such
       monthly call.

       2.2   Amendment to Section 6.7(a). With effect from the date hereof Section 6.7(a) is
hereby amended and restated in its entirety to read as follows:

                       (a)     Leverage Ratio. Beginning with the Fiscal Quarter ending
       September 30, 2018, the Company shall not permit the Leverage Ratio as of the last
       day of any Fiscal Quarter to be greater than 4.75 to 1.00; provided that the Leverage
       Ratio shall not be tested for the Fiscal Quarter ending December 31, 2018.

       2.3   Amendment to Section 6.7(b). With effect from the date hereof Section 6.7(b) is
hereby amended and restated in its entirety to read as follows:

                       (b)     Interest Coverage Ratio. Beginning with the Fiscal Quarter
       ending September 30, 2018, the Company shall not permit the Interest Coverage
       Ratio as of the last day of any Fiscal Quarter to be less than 2.00 to 1.00; provided
       that the Interest Coverage Ratio shall not be tested for the Fiscal Quarter ending
       December 31, 2018.

       2.4    Exhibit N. With effect from the date hereof the Credit Agreement is amended by
adding a new Exhibit N as set forth in Schedule III hereto.

       Section 3.     Limited Waiver.

         3.1     In reliance on the representations, warranties, covenants and agreements contained
in this Waiver and Amendment, and subject to the satisfaction of the conditions precedent set forth
in Section 5 of this Waiver and Amendment, the Administrative Agent and Lenders party hereto
hereby grant the Specified Waivers. The Administrative Agent and the Lenders do not waive any
Default, Event of Default or other obligation of the Company other than the Specified Waivers as
set forth in this Section 3. For the avoidance of doubt, the Company acknowledges and agrees that
it shall be required to comply with (i) Section 6.7(a) and Section 6.7(b) of the Credit Agreement
in accordance with the terms of the Credit Agreement (as amended hereby) for all periods other
than the Fiscal Quarter ending September 30, 2018 and (ii) Section 5.13 and Section 6.20 of the
Credit Agreement in accordance with the terms of the Credit Agreement.



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        3.2    The execution and delivery by the Administrative Agent and the Lenders of this
Waiver and Amendment shall not be deemed to (i) except as expressly set forth herein, be a waiver,
amendment or modification of any term or condition of the Credit Agreement or any other
documents associated with the transactions contemplated therein, (ii) prejudice any right or
remedies which the Administrative Agent or the Lenders may now have or may have in the future
under or in connection with the Credit Agreement or any other Loan Document, or under
applicable law or (iii) be an assurance or promise that waivers or consents will be granted in the
future, whether for the matters herein stated or for other unrelated matters.

        Section 4.     APOD Approval. The Super-Majority Requisite Lenders hereby approve
the New APOD, which New APOD shall remain effective until the six-month anniversary of the
First Amendment Effective Date, at which point the Company shall submit a new APOD for
approval in accordance with Section 5.13 of the Credit Agreement. For the avoidance of doubt,
the foregoing approval of the New APOD shall automatically terminate and no longer be effective
with no further action by the Administrative Agent or the Lenders on such six-month anniversary
of the First Amendment Effective Date. Furthermore, to the extent that after the date hereof while
the New APOD is in effect, the Company receives any information (including the Schlumberger
economic evaluation that is pending as of the date hereof) that, in the reasonable and good faith
determination of the Company, indicates that the production of any new wells described in the
New APOD is materially worse than anticipated by the Company at the time the New APOD was
prepared, the Company shall propose a replacement APOD in accordance with Section 5.13 of the
Credit Agreement.

        Section 5.     Conditions Precedent to First Amendment Effective Date.                   The
effectiveness of this Waiver and Amendment is subject to the following:

              5.1    The Administrative Agent shall have received from the Company and the
Requisite Lenders counterparts of this Waiver and Amendment signed on behalf of such Persons.

               5.2    The Administrative Agent shall have received a copy of a fully executed
amendment to the RBL Facility Credit Agreement dated as of the date hereof and effective among
the RBL Facility Administrative Agent, the RBL Facility Lenders, and OpCo, which amendment
shall include a waiver of the defaults caused by the Specified Ratio Non-Compliance under and
pursuant to the RBL Facility Credit Agreement (the “RBL Facility Waiver and Amendment”).

        The Administrative Agent shall notify the Company and the Lenders of the satisfaction of
the conditions precedent set forth in this Section 5, and such notice shall be conclusive and binding.
For purposes of determining compliance with the conditions specified in this Section 5, each
Lender that has signed this Waiver and Amendment shall be deemed to have consented to,
approved or accepted or to be satisfied with, each document or other matter required thereunder to
be consented to or approved by or acceptable or satisfactory to a Lender unless the Administrative
Agent shall have received written notice from such Lender prior to the proposed First Amendment
Effective Date specifying its objection thereto and has notified the Company of the same.

        Section 6.     Upfront Fee and Fees and Expenses Generally. The Company shall pay (i)
to the Administrative Agent for the account of each Lender party hereto an upfront fee equal to
0.75% of the principal amount of total Commitments (which, for the avoidance of doubt, are equal


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to $475,000,000.00), (ii) all other fees due and payable on or prior to the First Amendment
Effective Date and (iii) to the extent invoiced in reasonable detail at least two (2) Business Days
prior to the First Amendment Effective Date, reimbursement or payment of all out-of-pocket
expenses required to be reimbursed or paid by the Company hereunder (including, without
limitation, the reasonable and documented fees and expenses of Vinson & Elkins LLP, counsel to
the Administrative Agent, pursuant to Section 10.2 of the Credit Agreement), in each case by the
earlier of (A) the date falling fifteen Business Days after the First Amendment Effective Date and
(B) the first Borrowing of a Loan following the First Amendment Effective Date; provided that,
failure by the Company to pay any fees or expenses by the deadlines specified in this Section 6,
shall constitute an immediate Event of Default under the Credit Agreement.

       Section 7.      Miscellaneous.

        7.1    Confirmation. The provisions of the Credit Agreement (as amended by this Waiver
and Amendment) shall remain in full force and effect in accordance with its terms following the
effectiveness of this Waiver and Amendment.

         7.2     Ratification and Affirmation; Representations and Warranties. The Company
hereby: (a) acknowledges the terms of this Waiver and Amendment; (b) ratifies and affirms its
obligations, and acknowledges, renews and extends its continued liability, under each Loan
Document to which it is a party and agrees that each Loan Document to which it is a party remains
in full force and effect, as amended hereby (subject to subject to applicable bankruptcy, insolvency,
reorganization, moratorium or other laws affecting creditors’ rights generally and subject to
general principles of equity, regardless of whether considered in a proceeding in equity or at law);
(c) agrees that from and after the First Amendment Effective Date, each reference to the Credit
Agreement in the Loan Documents shall be deemed to be a reference to the Credit Agreement, as
amended by this Waiver and Amendment; and (d) represents and warrants to the Lenders that as
of the date hereof, after giving effect to the terms of this Waiver and Amendment: (i) the
representations and warranties set forth in each Loan Document are true and correct in all material
respects (except for such representations and warranties that have a materiality or Material Adverse
Effect qualification, which shall be true and correct in all respects, subject to such qualification as
expressed therein), except to the extent any such representations and warranties are expressly
limited to an earlier date, in which case, such representations and warranties shall continue to be
true and correct in all material respects (except for such representations and warranties that have a
materiality or Material Adverse Effect qualification, which shall be true and correct in all respects,
subject to such qualification as expressed therein) as of such specified earlier date and (ii) no
Default or Event of Default has occurred and is continuing.

        7.3    Counterparts. This Waiver and Amendment may be executed in counterparts (and
by different parties hereto on different counterparts), each of which shall constitute an original,
but all of which when taken together shall constitute a single contract. Delivery of an executed
counterpart of a signature page of this Waiver and Amendment by fax, as an attachment to an
email or other similar electronic means shall be effective as delivery of a manually executed
counterpart of this Agreement.

    7.4  NO ORAL AGREEMENT. THIS WAIVER AND AMENDMENT, THE
CREDIT AGREEMENT AND THE OTHER LOAN DOCUMENTS EXECUTED IN


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CONNECTION HEREWITH AND THEREWITH REPRESENT THE FINAL
AGREEMENT AMONG THE PARTIES HERETO AND THERETO AND MAY NOT BE
CONTRADICTED BY EVIDENCE OF PRIOR, CONTEMPORANEOUS, OR
SUBSEQUENT ORAL AGREEMENTS OF THE PARTIES.     THERE ARE NO
UNWRITTEN ORAL AGREEMENTS AMONG THE PARTIES.

      7.5 APPLICABLE LAW. THIS WAIVER AND AMENDMENT AND THE
RIGHTS AND OBLIGATIONS OF THE PARTIES HEREUNDER SHALL BE
GOVERNED BY, AND SHALL BE CONSTRUED AND ENFORCED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF NEW YORK. SECTION 10.15 AND SECTION
10.16 OF THE CREDIT AGREEMENT ARE HEREBY INCORPORATED BY
REFERENCE.

        7.6     Payment of Expenses. In accordance with Section 10.2 of the Credit Agreement,
the Company agrees to pay or reimburse the Administrative Agent for its actual, reasonable, out-
of-pocket expenses incurred in connection with this Waiver and Amendment, any other documents
prepared in connection herewith and the transactions contemplated hereby, including, without
limitation, the fees, charges and disbursements of counsel to the Administrative Agent.

         7.7    Severability. Any provision of this Waiver and Amendment held to be invalid,
illegal or unenforceable in any jurisdiction shall, as to such jurisdiction, be ineffective to the extent
of such invalidity, illegality or unenforceability without affecting the validity, legality and
enforceability of the remaining provisions hereof or thereof; and the invalidity of a particular
provision in a particular jurisdiction shall not invalidate such provision in any other jurisdiction.

        7.8    Successors and Assigns. This Waiver and Amendment shall be binding upon and
inure to the benefit of the parties to the Credit Agreement and their respective successors and
assigns permitted thereby.

        7.9    Loan Document. This Waiver and Amendment is a “Loan Document” as defined
and described in the Credit Agreement and all of the terms and provisions of the Credit Agreement
relating to Loan Documents shall apply hereto.

                                    [Signatures begin next page.]




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                    Doc 70-6          PARTNERS,Page
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                          By:         ​New Jutland Management, LLC, its
                                   General Partner




                          By:        ​           ​
                          Name:              ​Brian Terp
                          Title:         ​Manager
                          FENWOOD ROAD CAPITAL PARTNERS, LP,
                          as Lender


                          By:         ​Fenwood Road Management, LLC, its
                                   General Partner




                          By:        ​           ​
                          Name:            ​Timothy J. Detmering
                          Title:         ​Manager
                          AG ENERGY FUNDING, LLC, as Lender


                          By:     ​ ngelo, Gordon & Co., L.P., as its
                                   A
                          Manager


                          By:        ​           ​
                          Name:              ​
                          Title:         ​
                          RIVERSTONE       CREDIT             PARTNERS    I
                          DIRECT, LP, as Lender




                          By:        ​           ​
                          Name:              ​
                          Title:         ​

                          RIVERSTONE CREDIT                  PARTNERS    II
                          DIRECT, LP, as Lender
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                                     MELODY BUSINESS FINANCE, LLC, as
                                     Lender


                                     By:               _____________________
                                            ____________________________________
                                     Name:
                                     Title:




Signature Page to Limited Waiver and First Amendment to Term Loan Credit Agreement
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                       Schedule I

                      NEW WELLS

                      (See attached)
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MDC ENERGY LLC
Schedule I
February 17, 2018

                                                 Completion                     Lateral         CapEx ($)                            Total Fluids       Fluids         Proppant  Total Proppant       Total       Proppant Pump Rate
               Well Name             Spud Date                Targeted Zone                                   Stages Fluid Type                                                                                                              Est. WI %       Net-CapEx
                                                    Date                      Length (ft.)      Estimate                                (bbls)        (gals/lat ft)      Type          (lbs)        Proppant      (lbs/lat ft)   (bpm)
                                                                                                                                                                     100 mesh &                     (lbs) per
           Copperhead 23 #4H         11/1/2018    1/5/2019     Wolfcamp A     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)             (    11,655,000 ) ( Stage
                                                                                                                                                                                                       350,000) (       2,590) (       80)     65%       (      5,710,843 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       101 mesh &
        California Chrome 27 #10H    2/16/2019    3/5/2019     Wolfcamp B     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     167%      (      5,886,563 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     102 mesh &
        California Chrome 27 #12H    3/3/2019     3/5/2019        Tbsg        (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     267%      (      5,886,564 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
        California Chrome 27 #2H     2/1/2019     3/5/2019     Wolfcamp B     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
           Toyah B 21-22 #2H         2/15/2019    3/5/2019     Wolfcamp A     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     65%       (      6,305,000 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
           War Admiral 24 #2H        1/1/2019     3/21/2019       TBSG        (     6,543) ($     9,127,150 ) (   48)   Slickwater   (   467,357) (           3,000)                 (   18,156,825 ) (   375,000) (   2,775) (        80)     68%       (      6,206,462 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
           War Admiral 24 #3H        1/21/2019    3/21/2019    Wolfcamp A     (     6,400) ($     8,991,200 ) (   47)   Slickwater   (   457,143) (           3,000)                 (   16,576,000 ) (   350,000) (   2,590) (        80)     65%       (      5,844,280 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
            Whirlaway 24 #2H         3/18/2019    4/15/2019    Wolfcamp A     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
            Whirlaway 24 #3H         4/7/2019     4/15/2019    Wolfcamp B     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
          Imperial Eagle 24 #3H      1/10/2019    4/25/2019    Wolfcamp A     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
          Imperial Eagle 24 #4H      2/19/2019    4/25/2019       Tbsg        (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
          Imperial Eagle 24 #5H      3/2/2019     4/25/2019    Wolfcamp B     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
          Imperial Eagle 24 #6H      3/22/2019    4/25/2019    Wolfcamp B     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
            Whirlaway 24 #1H         1/30/2019    4/25/2019       Tbsg        (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                       100 mesh &
        Delightful Dasher 11-3 #3H   4/27/2019    5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     70%       (      6,790,000 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                       100 mesh &
        Delightful Dasher 11-4 #4H   5/17/2019    5/27/2019       Tbsg        (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     70%       (      6,790,000 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                       100 mesh &
             Omaha 11-4 #4H          5/15/2019    5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     59%       (      5,723,000 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
             Omaha 11-5 #5H          4/16/2019    5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     59%       (      5,723,000 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
             Omaha 11-6 #6H          5/6/2019     5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     70%       (      6,790,000 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
         Rocket Wrangler 11 #2H      3/16/2019    6/25/2019    Wolfcamp B     (     7,562) ($     9,751,388 ) (   56)   Slickwater   (   540,143) (           3,000)                 (   20,984,550 ) (   375,000) (   2,775) (        80)     62%       (      6,045,861 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
         Rocket Wrangler 11 #3H      4/5/2019     6/25/2019    Wolfcamp A     (     7,562) ($     9,751,388 ) (   56)   Slickwater   (   540,143) (           3,000)                 (   20,984,550 ) (   375,000) (   2,775) (        80)     62%       (      6,045,861 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
         Rocket Wrangler 11 #4H      4/25/2019    6/25/2019    Wolfcamp B     (     7,562) ($     9,751,388 ) (   56)   Slickwater   (   540,143) (           3,000)                 (   20,984,550 ) (   375,000) (   2,775) (        80)     59%       (      5,753,319 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
           Copperhead 23 #5H         5/26/2019    7/5/2019     Wolfcamp B     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                       40/70 white
                                                                                                                                                                     100 mesh &
           Copperhead 23 #6H         6/15/2019    7/5/2019     Wolfcamp B     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (       100)     70%       (      6,150,139 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                       100 mesh &
         Runaway Ghost 23 #3H        6/6/2019     7/5/2019     Wolfcamp B     (     8,110) ($     9,950,000 ) (   60)   Slickwater   (   579,286) (           3,000)                 (   21,004,900 ) (   350,000) (   2,590) (        80)     70%       (      6,965,000 )
                                                                                                                                                                       40/70 white
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MDC ENERGY LLC
Schedule I
February 17, 2018

                                               Completion                     Lateral         CapEx ($)                            Total Fluids       Fluids         Proppant  Total Proppant       Total       Proppant Pump Rate
               Well Name           Spud Date                Targeted Zone                                   Stages Fluid Type                                                                                                              Est. WI %       Net-CapEx
                                                  Date                      Length (ft.)      Estimate                                (bbls)        (gals/lat ft)      Type          (lbs)        Proppant      (lbs/lat ft)   (bpm)
                                                                                                                                                                   100 mesh &                     (lbs) per
         Runaway Ghost 23 #4H      6/26/2019    7/5/2019     Wolfcamp B     (     8,110) ($     9,950,000 ) (   60)   Slickwater   (   579,286) (           3,000)             (    21,004,900 ) ( Stage
                                                                                                                                                                                                     350,000) (       2,590) (       80)     64%       (      6,368,000 )
                                                                                                                                                                   40/70 white
                                                                                                                                                                     100 mesh &
           Coopers Dream #5H       6/20/2019    8/5/2019        Tbsg        (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (       100)     100%      (      9,500,000 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                   100 mesh &
           Coopers Dream #6H       7/10/2019    8/5/2019     Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (       100)     64%       (      6,080,000 )
                                                                                                                                                                   40/70 white
                                                                                                                                                                     100 mesh &
           Special Effort 18 #2H   7/5/2019     8/20/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (        80)     64%       (      7,283,200 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                   100 mesh &
           Special Effort 18 #3H   7/25/2019    8/20/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (        80)     64%       (      7,283,200 )
                                                                                                                                                                   40/70 white
                                                                                                                                                                     100 mesh &
          A Classic Dash 18 #2H    7/16/2019    9/5/2019     Wolfcamp B     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (        80)     64%       (      7,283,200 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                   100 mesh &
          A Classic Dash 18 #3H    8/5/2019     9/5/2019     Wolfcamp B     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (       100)     64%       (      7,283,200 )
                                                                                                                                                                   40/70 white
                                                                                                                                                                     100 mesh &
             Easy Jet 18 #1H       7/30/2019    10/5/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (        80)     64%       (      7,283,200 )
                                                                                                                                                                     40/70 white
                                                                                                                                                                   100 mesh &
             Easy Jet 18 #2H       8/19/2019    10/5/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (        80)     65%       (      7,397,000 )
                                                                                                                                                                   40/70 white
                                                                                                                                                                     100 mesh &
             Easy Jet 18 #3H       8/14/2019    10/5/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (        80)     64%       (      7,283,200 )
                                                                                                                                                                     40/70 white
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                       Schedule II

                      NEW APOD

                      (See attached)
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                                                       Completion                     Lateral         CapEx ($)                            Total Fluids       Fluids         Proppant  Total Proppant       Total       Proppant Pump Rate
              Well Name                   Spud Date                 Targeted Zone                                   Stages Fluid Type                                                                                                              Est. WI %       Net-CapEx
                                                          Date                      Length (ft.)      Estimate                                (bbls)        (gals/lat ft)      Type          (lbs)        Proppant      (lbs/lat ft)   (bpm)
                                                                                                                                                                           100 mesh &                     (lbs) per
              Eastex 6 #1H                2/14/2018     4/12/2018    Wolfcamp A     (     8,072) ($     9,950,000 ) (   60)   Slickwater   (   576,571) (           3,000)             (    22,399,800 ) ( Stage
                                                                                                                                                                                                             375,000) (       2,775) (       80)     68%       (      6,766,000 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
          Imperial Eagle 24 #1H           3/19/2018     6/10/2018    Wolfcamp A     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     64%       (      6,197,718 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
        California Chrome 27 #1H          5/11/2018     6/19/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
            Gallant Fox 9 #1H             6/12/2018     7/12/2018    Wolfcamp A     (     4,500) ($     8,245,225 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   12,487,500 ) (   375,000) (   2,775) (        80)     75%       (      6,183,919 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
        Runaway Ghost 23 #1HM             7/20/2018     9/10/2018    Wolfcamp A     (     8,110) ($     9,950,000 ) (   60)   Slickwater   (   579,286) (           3,000)                 (   21,004,900 ) (   350,000) (   2,590) (        80)     69%       (      6,865,500 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
      Delightful Dasher 11-2 #2HM         7/22/2018     9/12/2018    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     62%       (      6,014,000 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
           Omaha 11-2 #2HM                6/10/2018     9/12/2018    Wolfcamp A     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     62%       (      6,014,000 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
            Omaha 11-3 #3H                 7/1/2018     9/12/2018    Wolfcamp A     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     62%       (      6,014,000 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
        Rocket Wrangler 11 #1H            4/11/2018     9/20/2018    Wolfcamp A     (     7,562) ($     9,751,388 ) (   56)   Slickwater   (   540,143) (           3,000)                 (   20,984,550 ) (   375,000) (   2,775) (        80)     62%       (      6,045,861 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
         A Classic Dash 18 #1HM           8/10/2018    10/16/2018    Wolfcamp A     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   714,286) (           3,000)                 (   27,750,000 ) (   375,000) (   2,775) (        80)     60%       (      6,828,000 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
  Special Effort 18 #1H (aka Yucca #7H)   8/25/2018    10/16/2018    Wolfcamp A     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (        80)     65%       (      7,397,000 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
            Sir Barton 24 #1H             9/10/2018     11/8/2018    Wolfcamp A     (     4,500) ($     8,347,350 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   12,487,500 ) (   375,000) (   2,775) (        80)     64%       (      5,342,304 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
          Smarty Jones 26 #5H              7/1/2018     11/8/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
          Smarty Jones 26 #6H             7/20/2018     11/8/2018       Bnsg        (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   14,060,000 ) (   380,000) (   2,812) (        80)     70%       (      6,150,139 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                             100 mesh &
          Smarty Jones 26 #7H              8/1/2018     11/8/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                             100 mesh &
          Whirlaway 24 #4HM               9/26/2018     11/8/2018    Wolfcamp A     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     64%       (      6,208,000 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                             100 mesh &
     State California Chrome 27 #3H       8/14/2018    11/27/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
        California Chrome 27 #4H           9/4/2018    11/29/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
        California Chrome 27 #5H          9/24/2018    11/29/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
        California Chrome 27 #6H          10/14/2018   11/29/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
     State California Chrome 27 #7H       8/10/2018     12/1/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
     State California Chrome 27 #8H       8/30/2018     12/1/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
     State California Chrome 27 #9H       9/14/2018     12/1/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                             40/70 white
                                                                                                                                                                           100 mesh &
           Pickpocket 21 #2H              8/10/2018     12/3/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     78%       (      6,853,012 )
                                                                                                                                                                           40/70 white
                                                                                                                                                                             100 mesh &
           Pickpocket 21 #3H              8/20/2018     12/3/2018    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   14,060,000 ) (   380,000) (   2,812) (       100)     78%       (      6,853,012 )
                                                                                                                                                                             40/70 white
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                                                Completion                     Lateral         CapEx ($)                            Total Fluids       Fluids         Proppant  Total Proppant       Total       Proppant Pump Rate
              Well Name            Spud Date                 Targeted Zone                                   Stages Fluid Type                                                                                                              Est. WI %       Net-CapEx
                                                   Date                      Length (ft.)      Estimate                                (bbls)        (gals/lat ft)      Type          (lbs)        Proppant      (lbs/lat ft)   (bpm)
                                                                                                                                                                    100 mesh &                     (lbs) per
           Pickpocket 21 #4H       9/10/2018     12/3/2018    Wolfcamp B     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)             (    12,950,000 ) ( Stage
                                                                                                                                                                                                      350,000) (       2,590) (       80)     78%       (      6,853,012 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
         American Pharaoh #2H      11/9/2018    12/11/2018    Wolfcamp A     (     7,621) ($     9,841,805 ) (   56)   Slickwater   (   544,357) (           3,000)                 (   21,148,275 ) (   375,000) (   2,775) (        80)     64%       (      6,298,755 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          Seattle Slew 17 #1H      12/2/2018    12/26/2018    Wolfcamp A     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   714,286) (           3,000)                 (   25,900,000 ) (   350,000) (   2,590) (        80)     64%       (      7,283,200 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          Copperhead 23 #2H        11/20/2018    1/5/2019     Wolfcamp A     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     65%       (      5,710,843 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          Copperhead 23 #4H        11/1/2018     1/5/2019     Wolfcamp A     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     65%       (      5,710,843 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          Coopers Dream #2H        11/10/2018    1/15/2019    Wolfcamp A     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     65%       (      6,175,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          Coopers Dream #3H        11/30/2018    1/15/2019    Wolfcamp A     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     65%       (      5,710,843 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          Coopers Dream #4H        12/20/2018    1/15/2019    Wolfcamp A     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     65%       (      5,710,843 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
             Repent 23 #1H         11/1/2018     1/15/2019    Wolfcamp A     (     8,110) ($     9,950,000 ) (   60)   Slickwater   (   579,286) (           3,000)                 (   21,004,900 ) (   350,000) (   2,590) (        80)     65%       (      6,467,500 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
         Runaway Ghost 23 #2H      11/20/2018    1/15/2019    Wolfcamp A     (     8,110) ($     9,950,000 ) (   60)   Slickwater   (   579,286) (           3,000)                 (   21,004,900 ) (   350,000) (   2,590) (        80)     65%       (      6,467,500 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
             Affirmed 6 #3H        12/20/2018    2/15/2019    Wolfcamp A     (     6,700) ($     9,100,000 ) (   50)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (        80)     68%       (      6,188,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
             Affirmed 6 #5H        1/10/2019     2/15/2019    Wolfcamp A     (     6,700) ($     9,100,000 ) (   50)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (       100)     68%       (      6,188,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
             Affirmed 6 #7H         2/1/2019     2/15/2019    Wolfcamp B     (     6,700) ($     9,100,000 ) (   50)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (       100)     65%       (      5,915,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      101 mesh &
       California Chrome 27 #10H   2/16/2019     3/5/2019     Wolfcamp B     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     167%      (      5,886,563 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                      102 mesh &
       California Chrome 27 #12H    3/3/2019     3/5/2019        Tbsg        (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     267%      (      5,886,564 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                      100 mesh &
        California Chrome 27 #2H    2/1/2019     3/5/2019     Wolfcamp B     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (        80)     67%       (      5,886,562 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                      100 mesh &
              Toyah B #2H          12/20/2018    3/5/2019     Wolfcamp A     (     6,700) ($     9,100,000 ) (   50)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (       100)     65%       (      5,915,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
           Toyah B 21-22 #2H       2/15/2019     3/5/2019     Wolfcamp A     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     65%       (      6,305,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          War Admiral 24 #4H       11/8/2018     3/15/2019    Wolfcamp B     (     6,543) ($     9,127,150 ) (   48)   Slickwater   (   467,357) (           3,000)                 (   18,156,825 ) (   375,000) (   2,775) (        80)     68%       (      6,206,462 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    101 mesh &
          War Admiral 24 #5H       11/28/2018    3/15/2019    Wolfcamp B     (     6,543) ($     9,127,150 ) (   48)   Slickwater   (   467,357) (           3,001)                 (   18,156,873 ) (   375,001) (   2,775) (        81)     168%      (     15,333,612 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      102 mesh &
          War Admiral 24 #6H       12/23/2018    3/15/2019    Wolfcamp B     (     6,543) ($     9,127,150 ) (   48)   Slickwater   (   467,357) (           3,002)                 (   18,156,922 ) (   375,002) (   2,775) (        82)     268%      (     24,460,762 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          Imperial Eagle 24 #2H    2/10/2019     3/21/2019    Wolfcamp B     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          War Admiral 24 #2H        1/1/2019     3/21/2019       TBSG        (     6,543) ($     9,127,150 ) (   48)   Slickwater   (   467,357) (           3,000)                 (   18,156,825 ) (   375,000) (   2,775) (        80)     68%       (      6,206,462 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          War Admiral 24 #3H       1/21/2019     3/21/2019    Wolfcamp A     (     6,400) ($     8,991,200 ) (   47)   Slickwater   (   457,143) (           3,000)                 (   16,576,000 ) (   350,000) (   2,590) (        80)     65%       (      5,844,280 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
           Whirlaway 24 #2H        3/18/2019     4/15/2019    Wolfcamp A     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                      40/70 white
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Schedule 5.13 APOD
February 17, 2018

                                                Completion                     Lateral         CapEx ($)                            Total Fluids       Fluids         Proppant  Total Proppant       Total       Proppant Pump Rate
              Well Name             Spud Date                Targeted Zone                                   Stages Fluid Type                                                                                                              Est. WI %       Net-CapEx
                                                   Date                      Length (ft.)      Estimate                                (bbls)        (gals/lat ft)      Type          (lbs)        Proppant      (lbs/lat ft)   (bpm)
                                                                                                                                                                    100 mesh &                     (lbs) per
           Whirlaway 24 #3H         4/7/2019     4/15/2019    Wolfcamp B     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)             (    11,655,000 ) ( Stage
                                                                                                                                                                                                      350,000) (       2,590) (       80)     70%       (      6,150,139 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          Imperial Eagle 24 #3H     1/10/2019    4/25/2019    Wolfcamp A     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          Imperial Eagle 24 #4H     2/19/2019    4/25/2019       Tbsg        (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          Imperial Eagle 24 #5H     3/2/2019     4/25/2019    Wolfcamp B     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          Imperial Eagle 24 #6H     3/22/2019    4/25/2019    Wolfcamp B     (     7,461) ($     9,683,935 ) (   55)   Slickwater   (   532,929) (           3,000)                 (   20,704,275 ) (   375,000) (   2,775) (        80)     65%       (      6,294,558 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
           Whirlaway 24 #1H         1/30/2019    4/25/2019       Tbsg        (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
           Count Fleet 11 #5H       3/7/2019     5/15/2019    Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     62%       (      5,890,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
           Count Fleet 11 #6H       3/27/2019    5/15/2019    Wolfcamp A     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     62%       (      5,890,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
       Delightful Dasher 11-3 #3H   4/27/2019    5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     70%       (      6,790,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
       Delightful Dasher 11-4 #4H   5/17/2019    5/27/2019       Tbsg        (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     70%       (      6,790,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
            Omaha 11-4 #4H          5/15/2019    5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     59%       (      5,723,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
            Omaha 11-5 #5H          4/16/2019    5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     59%       (      5,723,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
            Omaha 11-6 #6H          5/6/2019     5/27/2019    Wolfcamp B     (     7,500) ($     9,700,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     70%       (      6,790,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
           Count Fleet 11 #1H       4/11/2019    6/3/2019        Tbsg        (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     59%       (      5,605,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                      100 mesh &
           Count Fleet 11 #3H       4/26/2019    6/3/2019     Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   21,090,000 ) (   380,000) (   2,812) (       100)     59%       (      5,605,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                      100 mesh &
           Count Fleet 11 #4H       5/11/2019    6/3/2019     Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (        80)     70%       (      6,650,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                      100 mesh &
        Rocket Wrangler 11 #2H      3/16/2019    6/25/2019    Wolfcamp B     (     7,562) ($     9,751,388 ) (   56)   Slickwater   (   540,143) (           3,000)                 (   20,984,550 ) (   375,000) (   2,775) (        80)     62%       (      6,045,861 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
        Rocket Wrangler 11 #3H      4/5/2019     6/25/2019    Wolfcamp A     (     7,562) ($     9,751,388 ) (   56)   Slickwater   (   540,143) (           3,000)                 (   20,984,550 ) (   375,000) (   2,775) (        80)     62%       (      6,045,861 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
        Rocket Wrangler 11 #4H      4/25/2019    6/25/2019    Wolfcamp B     (     7,562) ($     9,751,388 ) (   56)   Slickwater   (   540,143) (           3,000)                 (   20,984,550 ) (   375,000) (   2,775) (        80)     59%       (      5,753,319 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
          Copperhead 23 #5H         5/26/2019    7/5/2019     Wolfcamp B     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (        80)     70%       (      6,150,139 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
          Copperhead 23 #6H         6/15/2019    7/5/2019     Wolfcamp B     (     4,500) ($     8,785,913 ) (   33)   Slickwater   (   321,429) (           3,000)                 (   11,655,000 ) (   350,000) (   2,590) (       100)     70%       (      6,150,139 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
         Runaway Ghost 23 #3H       6/6/2019     7/5/2019     Wolfcamp B     (     8,110) ($     9,950,000 ) (   60)   Slickwater   (   579,286) (           3,000)                 (   21,004,900 ) (   350,000) (   2,590) (        80)     70%       (      6,965,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
         Runaway Ghost 23 #4H       6/26/2019    7/5/2019     Wolfcamp B     (     8,110) ($     9,950,000 ) (   60)   Slickwater   (   579,286) (           3,000)                 (   21,004,900 ) (   350,000) (   2,590) (        80)     64%       (      6,368,000 )
                                                                                                                                                                      40/70 white
                                                                                                                                                                    100 mesh &
             Alysheba #1H           6/9/2019     8/5/2019     Wolfcamp B     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (        80)     70%       (      7,966,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                      100 mesh &
             Alysheba #2H           6/29/2019    8/5/2019     Wolfcamp B     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (        80)     64%       (      7,283,200 )
                                                                                                                                                                      40/70 white
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MDC ENERGY LLC
Schedule 5.13 APOD
February 17, 2018

                                              Completion                     Lateral         CapEx ($)                            Total Fluids       Fluids         Proppant  Total Proppant       Total       Proppant Pump Rate
              Well Name           Spud Date                Targeted Zone                                   Stages Fluid Type                                                                                                             Est. WI %       Net-CapEx
                                                 Date                      Length (ft.)      Estimate                                (bbls)        (gals/lat ft)      Type          (lbs)        Proppant      (lbs/lat ft)   (bpm)
                                                                                                                                                                  100 mesh &                     (lbs) per
          Coopers Dream #1H       5/31/2019    8/5/2019     Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)             (    19,425,000 ) ( Stage
                                                                                                                                                                                                    350,000) (       2,590) (     100)     70%       (      6,650,000 )
                                                                                                                                                                  40/70 white
                                                                                                                                                                    100 mesh &
          Coopers Dream #5H       6/20/2019    8/5/2019        Tbsg        (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (      100)     100%      (      9,500,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                  100 mesh &
          Coopers Dream #6H       7/10/2019    8/5/2019     Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (      100)     64%       (      6,080,000 )
                                                                                                                                                                  40/70 white
                                                                                                                                                                    100 mesh &
          Special Effort 18 #2H   7/5/2019     8/20/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (       80)     64%       (      7,283,200 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                  100 mesh &
          Special Effort 18 #3H   7/25/2019    8/20/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (       80)     64%       (      7,283,200 )
                                                                                                                                                                  40/70 white
                                                                                                                                                                    100 mesh &
          A Classic Dash 18 #2H   7/16/2019    9/5/2019     Wolfcamp B     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (       80)     64%       (      7,283,200 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                  100 mesh &
          A Classic Dash 18 #3H   8/5/2019     9/5/2019     Wolfcamp B     (    10,000) ($    11,380,000 ) (   74)   Slickwater   (   478,571) (           3,000)                 (   17,353,000 ) (   350,000) (   2,590) (      100)     64%       (      7,283,200 )
                                                                                                                                                                  40/70 white
                                                                                                                                                                    100 mesh &
          Smarty Jones 26 #2H     7/9/2019    10/10/2019       Tbsg        (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (       80)     64%       (      5,622,984 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                  100 mesh &
          Smarty Jones 26 #3H     7/29/2019   10/10/2019    Wolfcamp A     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   14,060,000 ) (   380,000) (   2,812) (       80)     64%       (      5,622,984 )
                                                                                                                                                                  40/70 white
                                                                                                                                                                    100 mesh &
          Smarty Jones 26 #4H     8/18/2019   10/10/2019    Wolfcamp B     (     5,000) ($     8,785,913 ) (   37)   Slickwater   (   357,143) (           3,000)                 (   12,950,000 ) (   350,000) (   2,590) (       80)     65%       (      5,710,843 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                  100 mesh &
             Easy Jet 18 #1H      7/30/2019    10/5/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (       80)     64%       (      7,283,200 )
                                                                                                                                                                  40/70 white
                                                                                                                                                                    100 mesh &
             Easy Jet 18 #2H      8/19/2019    10/5/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (       80)     65%       (      7,397,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                  100 mesh &
             Easy Jet 18 #3H      8/14/2019    10/5/2019    Wolfcamp B     (    10,311) ($    11,380,000 ) (   76)   Slickwater   (   807,765) (           3,000)                 (   28,614,385 ) (   375,000) (   3,000) (       80)     64%       (      7,283,200 )
                                                                                                                                                                  40/70 white
          Russell Reserve #1H                                                                                                                                       100 mesh &
                                  3/1/2019     4/1/2019     Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (      100)     64%       (      6,080,000 )
          (Affirmed 82-8 #1H)                                                                                                                                       40/70 white
                                                                                                                                                                    100 mesh &
           Affirmed 82-1 #2H      5/20/2019    7/31/2019    Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (      100)     64%       (      6,080,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                    100 mesh &
           Affirmed 82-1 #3H      6/7/2019     7/31/2019    Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (      100)     64%       (      6,080,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                    100 mesh &
           Affirmed 82-1 #4H      6/27/2019    7/31/2019    Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (      100)     64%       (      6,080,000 )
                                                                                                                                                                    40/70 white
                                                                                                                                                                  100 mesh &
           Affirmed 82-1 #5H      7/15/2019    7/31/2019    Wolfcamp B     (     7,500) ($     9,500,000 ) (   56)   Slickwater   (   535,714) (           3,000)                 (   19,425,000 ) (   350,000) (   2,590) (      100)     64%       (      6,080,000 )
                                                                                                                                                                  40/70 white
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                        Schedule III
                                                              EXHIBIT N

    FORM OF SLIDES FOR MONTHLY LENDER CALL

                        (See attached)




           Exhibit N to Term Loan Credit Agreement
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                                                     MDC Operations Summary
                                                                  January 7, 2019
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                                                                          Total Oil         Total Gross BOE            Total Gas

Production Increase 4X in 4 Months                              40,000                                                             60,000
• Oil production up 422% (Sep.1-Jan.5)
• Gas production up 152% (Sep.1-Jan.5)                          32,000                                                             48,000
• Boe production up 280% (Sep.1-Jan.5)
• Low GOR wells 15% above TC on average                         24,000
                                                                                                       280% Increase
                                                                                                                                   36,000




                                                  BO/D, BOE/D




                                                                                                                                              MCF/D
Liquidity
• Current Cash on hand: $12MM                                   16,000                                                             24,000
• Debt Outstanding: $334MM
      • Holdco: $290MM                                           8,000                                                             12,000
      • RBL: $44MM
• Planned 1Q-19 Draws:                                              0                                                              0
      • $20MM Holdco                                               9/1/2018                11/1/2018                   1/1/2019
      • $44MM Opco
                                             Actual Drilling vs. APOD          Sep-18       Oct-18     Nov-18     Dec-18          TOTAL
Current Operations
• Drilling 13 wells                          APOD Well Completions                 9           1          5             8          23
• Completing 10 Wells                        Actual Well Completions               0           5          4             7          16

Acreage                                      Capex Budget $000s                $40,259      $32,923    $40,766    $30,139     $144,088
• Current: 10,900 net acres (post AMI)       Capex Actuals $000s               $14,400      $35,329    $42,188                 $91,917
• Agreed to terms: 300 net acres                Actuals vs. Budget            ($25,859)     $2,406     $1,421    ($30,139)    ($52,172)

• Evaluating: 640 net acres


                                                                                                                                          Page 2
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                                        MDC Monthly Production Summary

                                                     Gross Production
                 Column Labels
                     2018                                                 2018 Total      2019        2019 Total   Grand Total
                      Sep           Oct        Nov           Dec                           Jan
Sum of Total Oil      120,322       196,389    250,158        398,922        965,791       430,492       430,492     1,396,283
Sum of Total Gas      616,075       802,277    980,069      1,329,934      3,728,355     1,415,646     1,415,646     5,144,001
Sum of Total Boe      223,001       330,102    413,503        620,578      1,587,184       666,433       666,433     2,253,616
Gross Boe/d             7,433        10,648     13,783         20,019         13,010         21,498       21,498        14,730



                                                     Net Production
                 Column Labels
                   2018                                            2018 Total     2019       2019 Total   Grand Total
                 Sep           Oct         Nov         Dec                      Jan
Sum of Total Oil       60,766       97,464     123,246     191,175      472,651      211,881      211,881      684,532
Sum of Total Gas      296,255      386,608     473,916     631,579    1,788,359      690,246      690,246    2,478,604
Sum of Total Boe      110,142      161,899     202,232     296,438      770,711      326,922      326,922    1,097,633
Net Boe/d               3,671        5,223       6,741       9,563        6,317       10,546       10,546        7,174

Average NRI            0.4809        0.4819      0.4836          0.4749       0.4797        0.4876        0.4876        0.4818




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               MDC Low GOR Well Performance Exceeds Type Curve by 15%
                        October 2017 through November 2018
                        Low GOR Actual Average vs Low GOR Type Curve
400000.0



350000.0
                                                                                    Actual Results 13%
                                                                                    Above Type Curve
300000.0



250000.0



200000.0



150000.0



100000.0



 50000.0



     0.0
           0     2         4              6                  8                 10             12         14    16

                                         LGOR Type Curve         Average BOE


                                                                                                              Page 4
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                                       MDC High GOR Well Performance Matches Type Curve
                                             October 2017 through November 2018
                                            High GOR Actual Average vs High GOR Type Curve
             350000.0



             300000.0



             250000.0
Monthly Cumulative




             200000.0



             150000.0



             100000.0



                     50000.0



                         0.0
                               0   2            4             6            8          10               12   14    16
                                                                           Months
                                                        HGOR Type Curve      Average BOE

                                                                                                                 Page 5
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                          MDC Drilling Operations – Current Activity

Drilling – 13 wells in progress
Affirmed 3 Well Pad
California Chrome 3 Well Pad
Count Fleet 3 Well Pad
War Admiral 3 Well Pad
Toyah B 2H Single Well (HBP 640 Acres, High GOR Area)



Completions – 10 wells in progress

Copperhead Area: 7 Wells – completed by mid-February 2019
Seattle Slew: 1 Well – completed by mid-January 2019
Pickpocket Area: 3 Wells – completed by mid-January 2019




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                                                 MDC QUARTERLY FORECAST
                                                                 9 mos. Ended                        3 mos. Ended                                FYE
($000s)                                          12/31/18           2018          3/31/19        6/30/19        9/30/19         12/31/19        2019           3/31/20

# wells(1)                                                  59              59              80             80             89           103              103              119
Production
 Net Oil (Bbl)                                     350,838           965,240        807,322        976,365      1,248,421        1,505,601      4,537,709      1,340,900
 Net NGL (Bbl)                                     114,061           171,219        212,182        302,414          401,003       484,947       1,400,546        467,025
 Net Gas (Mcf)                                     624,320          2,289,575     1,161,389      1,655,280      2,194,912        2,654,382      7,665,963      2,556,287
Total Production (Boe)                             568,953          1,518,055     1,213,069      1,554,659      2,015,243        2,432,945      7,215,915      2,233,973
 Average Daily Production (MBoe/d)                      6.2                5.5         13.5           17.1             21.9           26.4             19.8         24.5
 Growth                                                31%                             118%            27%             28%            21%           258%             -7%
Realized Prices
 Oil ($/Bbl)                                         $48.80           $54.38         $39.59         $42.63           $43.68         $44.25         $42.54         $44.63
 NGL ($/Bbl)                                         $15.64           $21.13         $12.76         $13.69           $14.00         $14.18         $13.66         $14.29
 Natural Gas ($/Mcf)                                  $1.88             $2.89         $1.99          $1.62            $1.67          $1.76          $1.76          $1.91
Revenue
Total Revenue                                      $20,082           $60,907        $38,639        $49,155          $64,446       $79,280       $231,520         $72,666
Expenses
 Lease Operating Expense & Prod. Taxes               $7,274          $20,835        $15,135        $19,900          $26,164       $31,127        $92,326         $29,082
 General & Administrative                              750              1,728           750            750             750            750           3,000            750
EBITDA                                             $12,057           $38,344        $22,754        $28,505          $37,532       $47,403       $136,195         $42,834
 Capital Expenditures                             $113,963          $177,820      $110,361        $120,727      $107,935          $85,230       $424,253                 $0
Free Cash Flow                                   ($112,028)        ($155,252)      ($99,223)     ($104,711)      ($83,966)        ($53,242)     ($341,142)       $27,419

Credit Facility
 Beginning Balance                                $249,000                   -    $334,000        $398,000      $523,000         $615,000       $334,000       $615,000
 Borrowings (excl. OID)                              85,000          369,000        108,000        125,000           92,000         94,435       419,435                  -
 Beginning Balance - Holdco Note                   240,000                   -      290,000        310,000          435,000       475,000        290,000         475,000
 Borrowings - Holdco Note                            50,000          290,000         20,000        125,000           40,000                 -    185,000                  -
 Beginning Balance - RBL                              9,000                  -       44,000         88,000           88,000       140,000          44,000        140,000
 Borrowings - RBL                                    35,000           44,000         44,000                 -        52,000                 -      96,000                 -
Ending Balance                                     334,000          $334,000        398,000        523,000          615,000       615,000       $615,000         587,581
Apollo Term Loan                                             -               -               -              -              -                -             -               -
HoldCo Note                                       $290,000          $290,000      $310,000        $435,000      $475,000         $475,000       $475,000       $447,581
Bonds                                                       $0             $0               $0             $0             $0               $0           $0               $0
RBL                                                $44,000           $44,000        $88,000        $88,000      $140,000         $140,000       $140,000       $140,000
Cash Balance                                       ($77,292)         ($77,292)     ($68,515)      ($48,227)      ($40,193)          $1,000         $1,000         $1,000
Covenant Analysis
Total Debt - RBL                                     44,000           44,000         88,000         88,000          140,000       140,000       $140,000         140,000
EBITDA (annualized ao 6/30/18)                       48,229           48,229         91,016        114,019          150,130       189,613        189,613         171,336
Interest Expense (incl HoldCo interest)              21,462           21,462         29,796         34,836           47,791         53,084         53,084         59,192
Interest Coverage Ratio (incl HoldCo interest)         2.25x             2.25x         3.05x          3.27x            3.14x          3.57x            3.57x        2.89x
Minimum                                                 2.0x               2.0x         2.0x           2.0x             2.0x           2.0x             2.0x         2.0x
Total Leverage Ratio - RBL                            0.91x             0.91x          0.97x          0.77x           0.93x          0.74x          0.74x           0.82x
Maximum                                               4.00x             4.00x          4.00x          4.00x           4.00x          4.00x          4.00x           4.00x
Total Debt Incl. HoldCo Note
Total Leverage Ratio Incl. HoldCo Note
                                                  $334,000
                                                       6.93x
                                                                    $334,000
                                                                         6.93x
                                                                                  $398,000
                                                                                       4.37x
                                                                                                  $523,000
                                                                                                      4.59x
                                                                                                                $615,000
                                                                                                                       4.10x
                                                                                                                                 $615,000
                                                                                                                                      3.24x
                                                                                                                                                $615,000
                                                                                                                                                       3.24x
                                                                                                                                                               $587,581
                                                                                                                                                                    3.43x
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                                                         MDC BUDGET VARIANCE REPORT
                                                                                                           Variance Schedule
                                 31                  31                   31                 91.25               91.25               91.25                365                 365               365
                                                Monthly Results                                              QTD Results                                                   YTD Results
                           Month Budget          Month Actual         Dec Variance         QTD Budget         QTD Actual         QTD Variance          YTD Budget          YTD Actual      YTD Variance
Realized Prices
Oil ($/Bbl)                    #DIV/0!              #DIV/0!             #DIV/0!              #DIV/0!            #DIV/0!              #DIV/0!             #DIV/0!             #DIV/0!           #DIV/0!
Gas ($/Mcf)                    #DIV/0!              #DIV/0!             #DIV/0!              #DIV/0!            #DIV/0!              #DIV/0!             #DIV/0!             #DIV/0!           #DIV/0!
NGL ($/Bbl)                    #DIV/0!              #DIV/0!             #DIV/0!              #DIV/0!            #DIV/0!              #DIV/0!             #DIV/0!             #DIV/0!           #DIV/0!
Realized ($/Boe)               #DIV/0!              #DIV/0!             #DIV/0!              #DIV/0!            #DIV/0!              #DIV/0!             #DIV/0!             #DIV/0!           #DIV/0!

Production Volumes
Oil (Bbl)                                                                         -                                                            -                                                         -
Gas (Mcf)                                                                         -                                                            -                                                         -
NGL (Bbl)                                                                         -                                                            -                                                         -
Boe/d                                    -                    -                   -                    -                  -                    -                   -                   -                 -

Revenues and Expenses
Revenues - Oil                                                    $               -                                              $             -                                           $             -
Revenues - Gas                                                    $               -                                              $             -                                           $             -
Revenues - NGL                                                    $               -                                              $             -                                           $             -
Total Net Revenues         $             -      $             -   $               -    $               -    $             -      $             -   $               -   $               -   $             -

Realized Hedging & Other                                          $               -                                              $             -                                           $             -

LOE - Normal                                                      $               -                                              $             -                                           $             -
LOE - Workovers                                                   $               -                                              $             -                                           $             -
Exploratory Costs                                                 $               -                                              $             -                                           $             -
Production Taxes                                                  $               -                                              $             -                                           $             -

Total Operating Expenses   $             -                    -   $               -    $               -    $             -      $             -   $               -   $               -   $             -

G&A                                                               $               -                                              $             -                                           $             -

EBITDA                     $             -                    -   $               -    $               -    $             -      $             -   $               -   $               -   $             -
EBITDAX                    $             -                    -   $               -    $               -    $             -      $             -   $               -   $               -   $             -




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                                                                        MDC BUDGET VARIANCE REPORT
Capital Expenditures

Consolidated Net Cash Flow
All Cash Reciepts
(-) LOE
(-) Cash Interest / Standby Fees
(-) G&A Expense
(-) APOD Capital Expenditures
(-) Taxes
(-) G&P/Marketing/Transport/Compression
(-) Transaction Costs
(=) Consolidated Net Cash Flow            $             -      $             -   $             -                      $             -                                         $             -

Summary Balance Sheet
Beginning Unrestricted Cash Balance
Change in Unrestricted Cash
Ending Unrestricted Cash Balance          $             -      $             -   $             -    $             -   $             -     $             -   $             -   $             -   $             -

Ending Debt
Ending Debt / EBITDAX

Per Unit
Revenue / Boe                                 #DIV/0!              #DIV/0!           #DIV/0!            #DIV/0!           #DIV/0!             #DIV/0!           #DIV/0!           #DIV/0!           #DIV/0!
LOE / Boe                                     #DIV/0!              #DIV/0!           #DIV/0!            #DIV/0!           #DIV/0!             #DIV/0!           #DIV/0!           #DIV/0!           #DIV/0!
G&A / Boe                                     #DIV/0!              #DIV/0!           #DIV/0!            #DIV/0!           #DIV/0!             #DIV/0!           #DIV/0!           #DIV/0!           #DIV/0!
EBITDAX / Boe                                 #DIV/0!              #DIV/0!           #DIV/0!            #DIV/0!           #DIV/0!             #DIV/0!           #DIV/0!           #DIV/0!           #DIV/0!




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                      APPENDIX




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MDC ENERGY LLC
Schedule 5.13 APOD - Plan vs. Actual
                                                               APOD PLAN VS ACTUAL
                                                     Planned                                Actual
                                                  Completion                               Completion   Targeted
            Well Name                   Spud Date            Targeted Zone   Spud Date                                                   Comments
                                                    Date                                     Date         Zone
                                                                                                                   Commentary on delays, advancement/high grade,
            Eastex 6 #1H                 2/14/18    4/12/18    Wolfcamp A                                          company asks related to changes (landing, lat. Length,
                                                                                                                   well swaps, etc.)

        Imperial Eagle 24 #1H            3/19/18    6/10/18    Wolfcamp A

      California Chrome 27 #1H           5/11/18    6/19/18    Wolfcamp A

          Gallant Fox 9 #1H              6/12/18    7/12/18    Wolfcamp A

      Runaway Ghost 23 #1HM              7/20/18    9/10/18    Wolfcamp A

    Delightful Dasher 11-2 #2HM          7/22/18    9/12/18    Wolfcamp B

         Omaha 11-2 #2HM                 6/10/18    9/12/18    Wolfcamp A

          Omaha 11-3 #3H                 7/1/18     9/12/18    Wolfcamp A

       Rocket Wrangler 11 #1H            4/11/18    9/20/18    Wolfcamp A

       A Classic Dash 18 #1HM            8/10/18    10/16/18   Wolfcamp A

Special Effort 18 #1H (aka Yucca #7H)    8/25/18    10/16/18   Wolfcamp A

          Sir Barton 24 #1H              9/10/18    11/8/18    Wolfcamp A

        Smarty Jones 26 #5H              7/1/18     11/8/18    Wolfcamp A

        Smarty Jones 26 #6H              7/20/18    11/8/18       Bnsg

        Smarty Jones 26 #7H              8/1/18     11/8/18    Wolfcamp A

         Whirlaway 24 #4HM               9/26/18    11/8/18    Wolfcamp A

   State California Chrome 27 #3H        8/14/18    11/27/18   Wolfcamp A

      California Chrome 27 #4H           9/4/18     11/29/18   Wolfcamp A




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MDC ENERGY LLC
Schedule 5.13 APOD - Plan vs. Actual
                                                              APOD PLAN VS ACTUAL
                                                    Planned                                Actual
                                                 Completion                               Completion   Targeted
            Well Name                  Spud Date            Targeted Zone   Spud Date                                      Comments
                                                   Date                                     Date         Zone
      California Chrome 27 #5H          9/24/18    11/29/18   Wolfcamp A

      California Chrome 27 #6H          10/14/18   11/29/18   Wolfcamp A

   State California Chrome 27 #7H       8/10/18    12/1/18    Wolfcamp A

   State California Chrome 27 #8H       8/30/18    12/1/18    Wolfcamp A

   State California Chrome 27 #9H       9/14/18    12/1/18    Wolfcamp A

          Pickpocket 21 #2H             8/10/18    12/3/18    Wolfcamp A

          Pickpocket 21 #3H             8/20/18    12/3/18    Wolfcamp A

          Pickpocket 21 #4H             9/10/18    12/3/18    Wolfcamp B

       American Pharaoh #2H             11/9/18    12/11/18   Wolfcamp A

         Seattle Slew 17 #1H            12/2/18    12/26/18   Wolfcamp A

         Copperhead 23 #2H              11/20/18    1/5/19    Wolfcamp A

         Copperhead 23 #4H              11/1/18     1/5/19    Wolfcamp A

         Coopers Dream #2H              11/10/18   1/15/19    Wolfcamp A

         Coopers Dream #3H              11/30/18   1/15/19    Wolfcamp A

         Coopers Dream #4H              12/20/18   1/15/19    Wolfcamp A

           Repent 23 #1H                11/1/18    1/15/19    Wolfcamp A

       Runaway Ghost 23 #2H             11/20/18   1/15/19    Wolfcamp A

           Affirmed 6 #3H               12/20/18   2/15/19    Wolfcamp A




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MDC ENERGY LLC
Schedule 5.13 APOD - Plan vs. Actual
                                                              APOD PLAN VS ACTUAL
                                                    Planned                                Actual
                                                 Completion                               Completion   Targeted
            Well Name                  Spud Date            Targeted Zone   Spud Date                                      Comments
                                                   Date                                     Date         Zone
           Affirmed 6 #5H               1/10/19    2/15/19    Wolfcamp A

           Affirmed 6 #7H                2/1/19    2/15/19    Wolfcamp B

      California Chrome 27 #10H         2/16/19    3/5/19     Wolfcamp B

      California Chrome 27 #12H          3/3/19    3/5/19        Tbsg

      California Chrome 27 #2H           2/1/19    3/5/19     Wolfcamp B

             Toyah B #2H                12/20/18   3/5/19     Wolfcamp A

         Toyah B 21-22 #2H              2/15/19    3/5/19     Wolfcamp A

         War Admiral 24 #4H             11/8/18    3/15/19    Wolfcamp B

         War Admiral 24 #5H             11/28/18   3/15/19       Tbsg

         War Admiral 24 #6H             12/23/18   3/15/19    Wolfcamp B

        Imperial Eagle 24 #2H           2/10/19    3/21/19    Wolfcamp B

         War Admiral 24 #2H              1/1/19    3/21/19    Wolfcamp A

         War Admiral 24 #3H             1/21/19    3/21/19    Wolfcamp A

          Whirlaway 24 #2H              3/18/19    4/15/19    Wolfcamp A

          Whirlaway 24 #3H               4/7/19    4/15/19    Wolfcamp B

        Imperial Eagle 24 #3H           1/10/19    4/25/19    Wolfcamp A

        Imperial Eagle 24 #4H           2/19/19    4/25/19       Tbsg

        Imperial Eagle 24 #5H            3/2/19    4/25/19    Wolfcamp B




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MDC ENERGY LLC
Schedule 5.13 APOD - Plan vs. Actual
                                                              APOD PLAN VS ACTUAL
                                                    Planned                                Actual
                                                 Completion                               Completion   Targeted
            Well Name                  Spud Date            Targeted Zone   Spud Date                                      Comments
                                                   Date                                     Date         Zone
        Imperial Eagle 24 #6H           3/22/19    4/25/19    Wolfcamp B

          Whirlaway 24 #1H              1/30/19    4/25/19       Tbsg

         Count Fleet 11 #5H             3/7/19     5/15/19    Wolfcamp B

         Count Fleet 11 #6H             3/27/19    5/15/19    Wolfcamp A

     Delightful Dasher 11-3 #3H         4/27/19    5/27/19    Wolfcamp B

     Delightful Dasher 11-4 #4H         5/17/19    5/27/19       Tbsg

          Omaha 11-4 #4H                5/15/19    5/27/19    Wolfcamp B

          Omaha 11-5 #5H                4/16/19    5/27/19    Wolfcamp B

          Omaha 11-6 #6H                5/6/19     5/27/19    Wolfcamp B

         Count Fleet 11 #1H             4/11/19    6/3/19        Tbsg

         Count Fleet 11 #3H             4/26/19    6/3/19     Wolfcamp B

         Count Fleet 11 #4H             5/11/19    6/3/19     Wolfcamp B

       Rocket Wrangler 11 #2H           3/16/19    6/25/19    Wolfcamp B

       Rocket Wrangler 11 #3H           4/5/19     6/25/19    Wolfcamp A

       Rocket Wrangler 11 #4H           4/25/19    6/25/19    Wolfcamp B

         Copperhead 23 #5H              5/26/19    7/5/19     Wolfcamp B

         Copperhead 23 #6H              6/15/19    7/5/19     Wolfcamp B

       Runaway Ghost 23 #3H             6/6/19     7/5/19     Wolfcamp B




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MDC ENERGY LLC
Schedule 5.13 APOD - Plan vs. Actual
                                                              APOD PLAN VS ACTUAL
                                                    Planned                                Actual
                                                 Completion                               Completion   Targeted
            Well Name                  Spud Date            Targeted Zone   Spud Date                                      Comments
                                                   Date                                     Date         Zone
       Runaway Ghost 23 #4H             6/26/19     7/5/19    Wolfcamp B

            Alysheba #1H                6/9/19      8/5/19    Wolfcamp B

            Alysheba #2H                6/29/19     8/5/19    Wolfcamp B

         Coopers Dream #1H              5/31/19     8/5/19    Wolfcamp B

         Coopers Dream #5H              6/20/19     8/5/19       Tbsg

         Coopers Dream #6H              7/10/19     8/5/19    Wolfcamp B

        Special Effort 18 #2H           7/5/19     8/20/19    Wolfcamp B

        Special Effort 18 #3H           7/25/19    8/20/19    Wolfcamp B

        A Classic Dash 18 #2H           7/16/19     9/5/19    Wolfcamp B

        A Classic Dash 18 #3H           8/5/19      9/5/19    Wolfcamp B

        Smarty Jones 26 #2H             7/9/19     10/10/19      Tbsg

        Smarty Jones 26 #3H             7/29/19    10/10/19   Wolfcamp A

        Smarty Jones 26 #4H             8/18/19    10/10/19   Wolfcamp B

           Easy Jet 18 #1H              7/30/19    10/5/19    Wolfcamp B

           Easy Jet 18 #2H              8/19/19    10/5/19    Wolfcamp B

           Easy Jet 18 #3H              8/14/19    10/5/19    Wolfcamp B




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             APOD PLAN VS ACTUAL




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             APOD PLAN VS ACTUAL




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             APOD PLAN VS ACTUAL




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